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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                           for the
                                               Eastern District ofNew York


                              USA                             )
                             Plaintiff                        )
                                v.                            )      Case No.    96-CR-339
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                    ~ eRay~
                          so
                           ~r______________                   )
                            Defondant                         )

                                             APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:




Date:         09/21/20 15


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